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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                        www.flsb.uscourts.QOV



 In re:        Yasser Boza Diaz                             Case No.; 24-15532-CLC
                                                            Chapter 13

                       Debtor(s)


      Attorney-Represented Debtor’s Verified Ex Parte Motion for Referral to
                               Mortgage Modification Mediation
          The Debtor files this Verified Ex Parte Motion for Referral to Mortgage Modification

Mediation (“Ex Parte Motion”) and requests the Court enter an Order Granting Debtor’s
Ex Parte Motion for Referral to Mortgage Modification Mediation” (“Ex Parte Ordef)

referring      Debtor and US BANK TRUST NATIONAL ASSOCIATION. NOT IN ITS
INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG ASSEJ
TRUST / ShellDoint Mortgage Servicing TLender”) to Mortgage Modification Mediation

(“MMM”) and states as follows:
          1.      Debtor is an individual who has filed for bankruptcy relief under, or

                  converted to, chapter 13 on Mav 31. 2024.

          2.      Debtor requests MMM for real property (“Property”) located at the following
                  street address; 8Q9Q W 18TH LANE RD. Hialeah. FL 33014; account
                  number for this Property is 4613 (last four digits),
                  a. The Property is (check one box):

                     13 the Debtor's primary residence

                     □ not the Debtor’s primary residence
                  b. Borrowers obligated on the promissory note and mortgage on the
                     Property are (check one box):
                     □ Debtor only
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                   3 Debtor and non-filing co-obligor/co-borrower/third party
                      Contact information for co-obligor/co-borrower/third party;

                      Name:      Yoeiexvs Figueroa
                      Address: unknown (homeless)


                      Telephone: unknown
                      email:       unknown


                      Other:


                      Name:
                      Address:


                      Telephone:
                      email:



              c. If applicable, Debtor’s attorney has simultaneously filed with this
                  Motion the MMM Local Form “Third Party's Consent to Attend and

                  Participate in Mortgage Modification Mediation” signed by each co-
                  obligor/co-borrower/third party listed above.
       3.     Debtor intends to (check all boxes that apply):

               ^ modify the mortgage on the Debtor’s primary residence.
               ^ modify the mortgage on Property that is not the Debtor’s primary
                  residence.


               Z] surrender the Property to the Lender.
       4.     Prior to filing this motion, Debtor remitted to Debtor s attorney the required
              non-refundable portal submission fee in the amount of $60.00 and the

              required non-refundable Document Preparation Software fee in the
              amount of $60.00 for a total fee of $120.00.

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       5.     Prior to filing this motion. Debtor's attorney completed Debtor's information
              using the court-approved on-line program that facilitates the preparation of
              the Debtor’s loan modification package (“Document Preparation

              Software”) and has paid the $60.00 Document Preparation Software fee to
              the approved vendor. Debtor's initial loan modification forms have been
              generated and are ready for signature and submission. Debtor’s attorney
              has also collected all of the required supporting documentation as

              required by the Document Preparation Software (such documentation and
              forms referred collectively to as “Debtor’s Prepared Package”) and is

              prepared to submit the supporting documentation along with the
              modification forms.

       6.     Prior to filing this motion. Debtor’s attorney has determined that:
               ^ Lender is registered with the approved Mortgage Modification
                  Mediation Portal (“MMM Portal’’);

               □ Lender is not registered. Debtor requests the Court require Lender to
                  register with the MMM Portal within seven days after entry of the
                  Order.


       7.     Debtor requests Lender consider (check as many boxes as applicable):
               3 a HAMP or government sponsored loan modification
               3 a conventional loan modification

               □ a deed in lieu of foreclosure

               □ a state court consent in rem final judgment of foreclosure
               ^ surrender options


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               □ other:

       8.     IF DEBTOR IS REQUESTING NON-RETENTION (SURRENDER)
              OPTIONS:

              a. Debtor will submit all additional documents required for surrender as

                  provided for on the MMM Portal,

              b. Debtor represents that the property has been listed for sale.
       9.     Prior to filing this motion. Debtor remitted the required mediator’s fee in the
              amount of $400.00 to Debtor’s attorney, unless the Debtor is seeking pro

              bono mediation under paragraph 11. Debtor understands and

              acknowledges that after the mediator is designated, the mediator’s fee is
              not refundable for any reason at any time.

      10.     Within seven days after filing the MMM Local Form “Debtor’s Notice of
              Selection of Mortgage Modification Mediator (or “Notice of Clerk’s

              Designation of Mortgage Modification Mediator”) or the Lender's
              registration on the MMM Portal, whichever occurs later, Debtor’s attorney
              shall upload and submit through the MMM Portal. Debtor’s Prepared
              Package, together with any additional forms or documents which Lender
              may post on the MMM Portal, and pay a non-refundable MMM Portal
              submission fee in the amount of $60.00. In addition, the Debtor’s attorney

              will upload the Order to the MMM Portal as part of the submission of
              Debtor’s documentation.

      11.     Debtor’s attorney:

               3 will forward the mediator’s fee directly to the mediator within seven
                  days after designation of the mediator; OR

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              □ represents that the Debtor requests he/she be considered as a
                  candidate for pro bono mediation because the Debtor’s undersigned
                  attorney is representing the Debtor pro bono, or Debtor’s income is
                  less than 150% above the poverty level (see attached calculation).

      12.     Debtor consents to Lender communicating directly with Debtor’s attorney

              for any and all aspects of the mortgage modification mediation program.
      13.     [For chapter 7 debtors] Debtor understands and consents to this Court’s
              MMM procedures which require that, if the Debtor becomes otherwise
              eligible for entry of a discharge before the MMM process is completed, the
              Court shall delay issuance of the discharge until either an agreement is
              reached or the parties reach impasse as reflected in the Local Form "Final

              Report of Mortgage Modification Mediator".
   WHEREFORE, Debtor requests that the Ex Parte Motion be granted and for such
   other and further relief as this Court deems proper.




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                                nFBTQR’S VERIFICATION



Pursuant to 28 U.S.C. §1746. I declare under penalty of perjury the foregoing is true and
correct on     4;/ ,a/-           . 20,

Debtor,




Debtor



                                CERTIFICATE OF SERVICE


   I HEREBY CERTIFY that a true and correct copy of the Debtor’s Ex Parte Motion for
Referral to Mortgage Modification Mediation was se^edJjy U.S, first class Mail, upon the
parties listed below on     /
                                           ^          20;^/


                                    Respectfully Submitted:
                                    JOSE A. BLANCO, P.A.
                                    By: /s/ Jose A. Blanco \        FBN: 062449
                                    Attorney for Debtor(s)
                                    102 E 49th ST
                                    Hialeah, FL 33013
                                    Tel. (305) 349-3463

Copies to:

Lender: US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST, 300
Delaware Avenue, 9th floor, Wilmington, DE 19801

Shellpoint Mortgage Servicing PO Box 10826. Greenville, SC 29603-0826
Lender’s counsel (if you already know who Lender’s counsel is) George Zamora, Esq.
ECF User; Nicole Mariani Noel, Esq., ECF User

Any CO borrower, or additional party named in 2 b. of this motion by U.S. Mail or email




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